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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


LUMINATI NETWORKS LTD.                          §
               Plaintiff,                       §
                                                           Case No. 2:18-CV-00483-JRG
      v.                                        §
BI SCIENCE, INC.,                               §
               Defendant.                       §


    PLAINTIFF LUMINATI NETWORKS LTD.’S UPDATED NOTICE OF APPEAL OF
                      CORRECTED FINAL JUDGMENT

       Plaintiff Luminati Networks Ltd. (“Luminati”) hereby respectfully gives notice that it

appeals to the United States Court of Appeals for the Federal Circuit the finding of indefiniteness

and invalidity of claim 108 of U.S. Patent No. 9,241,044 as found in the Court’s December 6, 2019

Order (the “Claim Construction Order,” Dkt. No. 130) and incorporated in the February 1, 2021

(the “Corrected Final Judgment”). 1




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  Luminati and Defendant BI Science (2009) Ltd., also known as BI Science Inc., filed a joint
Motion to Correct the Final Judgment on July 24, 2020 (“Joint Motion,” Dkt. 223) pursuant to
Fed. R. Civ. Pro. 60 to expressly incorporate the finding that claim 108 of U.S. Patent No.
9,241,044 as indefinite. Out of an abundance of caution, Luminati previously filed a Notice of
Appeal of the original July 2, 2020 Order and Final Judgment on August 12, 2020 (Dkt. 233). The
Federal Circuit docketed the appeal on August 4, 2020 and assigned it case number 20-2118.
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 Dated: February 16, 2021                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE



        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 16th day of February 2021, with a copy of this document via CM/ECF.




                                             /s/ Korula T. Cherian
